Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 1 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 2 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 3 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 4 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 5 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 6 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 7 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 8 of 26
Case 16-69934-pwb   Doc 244    Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document     Page 9 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 10 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 11 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 12 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 13 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 14 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 15 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 16 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 17 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 18 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 19 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 20 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 21 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 22 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 23 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 24 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 25 of 26
Case 16-69934-pwb   Doc 244     Filed 05/21/18 Entered 05/21/18 16:40:35   Desc Main
                              Document      Page 26 of 26
